Case 2:05-cr-20092-STA Document 22 Filed 06/02/05 Page 1 of 2 PagelD 23

'1. '» 'L ad
lN THE uNlTED sTATEs olsTchT CousT H ED E" ‘*“~'“~~-- D-C-

Foa THE wEsTERN oisTFucT oF TENNEssEE h .
wEsTEaN DlvlsloN 05 JUN 2 PH l*' 2'

 

sosEsLsAsa_tsoon
GL.EHK.~ U.S. IEIST. CT.
uNITED sTATEs oF AMEaicA, W'D' O"' m ’""E"`"“°H‘S
P|aintiff,
vs.

CF{. NO. 05-20092-B
KEITH CARF{|CK aka KE|TH S|VlfTH,

Defeno|ant.

 

ORDEFI ON CONT|NUANCE AND SPEClFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lV|ay 31, 2005. At that time, counsel for
the defendant requested a continuance of the June 6, 2005 trial date in order to allow for
mental evaluation.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Nlondav. August 29. 2005l at 9:30 a.m., in Courtroom 1, ttth F|oor

of the Federa| Builc|ing, lVlemphis, TN.

The period from June 17, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the needf speedy tria|.

lT lS SO ORDERED this C|ay Of June, 2005.

f

J. Nl LsaEi§N
uN TE sTATEs olsTslc JuDGE

' Hance
cket sheet m comp
ed on the do -' 'O 5

*‘ ' oc\.ment enter
|h$S d RC{P en

with Plrile 55 andlor 320)\ F

DISTRIC COURT -WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20092 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

David Pritehard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

